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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

STUDENTS FOR FAIR ADMISSIONS, INC., §
                                                       §
                   Plaintiff,                          §
                                                       §
v.                                                     §
                                                       §
UNIVERSITY OF TEXAS AT AUSTIN;                         §
JAMES B. MILLIKEN, Chancellor of the                   §
University of Texas System in his Official Capacity;   §
STEVEN LESLIE, Executive Vice Chancellor               §
for Academic Affairs of the University of Texas System §
in his Official Capacity; DANIEL H.                    §
SHARPHORN, Vice Chancellor and                         §
General Counsel of the University of Texas             §   1:20-CV-763-RP
System in his Official Capacity;                       §
JAY HARTZELL, President of the                         §
University of Texas at Austin in his                   §
Official Capacity; BOARD OF REGENTS                    §
OF THE UNIVERSITY OF TEXAS                             §
SYSTEM; DAVID J. BECK, CHRISTINA                       §
MELTON CRAIN, KEVIN P. ELTIFE, R.                      §
STEVEN HICKS, JODIE LEE JILES,                         §
JANIECE LONGORIA, NOLAN PEREZ,                         §
KELCY L. WARREN, and JAMES C.                          §
“RAD” WEAVER, as Members of the Board                  §
of Regents in Their Official Capacities;               §
DANIEL JAFFE, Interim Executive Vice                   §
President and Provost; RACHELLE                        §
HERNANDEZ, Senior Vice Provost for                     §
Enrollment Management and Student                      §
Success; and MIGUEL WASIELEWSKI,                       §
Executive Director for Office of Admissions,           §
                                                       §
                   Defendants.                         §


                                                 ORDER




                                                      1
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        On March 8, 2021, Defendants’ 1 filed a motion for dismissal, or alternatively summary

judment, (Dkt. 45), and Defendant-Intervenors’ 2 filed a motion to dismiss, (Dkt. 44). To date,

Plaintiff Students for Fair Admissions (“SFFA”) has not filed a response to either motion. SFFA’s

response date for these motions was March 22, 2021. W.D. Tex. Loc. R. CV-7(e)(2) (requiring

parties to file responses to dispositive motions within 14 days); Fed. R. Civ. P. 6(a). Neither party

has filed anything further in this case.

        Although dismissal or summary judgment are not automatic when a dispositive motion is

unopposed, the Court reminds SFFA that the “burden of proof for a Rule 12(b)(1) motion to

dismiss is on the party asserting jurisdiction,” and “when no response is filed to a motion for

summary judgment, the Court may take the movant’s uncontroverted factual assertions as true.”

Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001), cert. denied, 536 U.S. 960 (2002); Baton

Rouge Oil & Chem. Workers Union v. ExxonMobil Corp., 289 F.3d 373, 375 (5th Cir. 2002).

Nonetheless, the Court will exercise its discretion to give SFFA a second opportunity to address

Defendants and Defendant-Intervenors’ motions.




1Defendants are The University of Texas at Austin (“UT Austin”), the Board of Regents of the University of
Texas System (“the UT System Board of Regents”), James B. Milliken, Chancellor of the University of Texas
System in his Official Capacity; Steven Leslie, Executive Vice Chancellor for Academic Affairs of the
University of Texas System in his Official Capacity; Daniel H. Sharphorn, Vice Chancellor and General
Counsel of the University of Texas System in his Official Capacity; Jay Hartzell, President of the University of
Texas at Austin in his Official Capacity; David J. Beck, Christina Melton Crain, Kevin P. Eltife, R. Steven
Hicks, Jodie Lee Jiles, Janiece Longoria, Nolan Perez, Kelcy L. Warren, and James C. “Rad” Weaver, as
Members of the Board of Regents in their Official Capacities; Daniel Jaffe, Interim Executive Vice President
and Provost; Rachelle Hernandez, Senior Vice Provost for Enrollment Management and Student Success;
and Miguel Wasielewski, Executive Director for Office of Admissions.

2Defendant-Intervenors are eight University of Texas at Austin (“UT”) students—Adaylin Alvarez, Morgan
Bennett, Brianna Mallorie McBride, Liz Kufour, Desiree Ortega-Santiago, Nima Rahman, Alexandra Trujillo,
and Rosaleen Xiong—(“student Movants”), and three organizations—the Texas National Association for the
Advancement of Colored People (“Texas NAACP”), the Black Student Alliance (“BSA”), and the Texas
Orange Jackets (together, “organizational Movants”). (See Order, Dkt. 35).


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       Accordingly, IT IS ORDERED that SFFA shall file a response to Defendants and

Defendant-Intervenors’ motions, (Dkts. 44, 45), on or before April 7, 2021. Defendants and

Defendant-Intervenors may file replies in accordance with the Court’s Local Rules.


       SIGNED on March 30, 2021.



                                             _____________________________________
                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE




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